       Case 9:13-cr-00030-DWM Document 274 Filed 03/13/14 Page 1 of 4



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,                            CR 13-30-M-DWM
                     Plaintiff,
                                                           ORDER
        vs.


 STEVE HUMISTON,

                     Defendant.




      On March 13, 2014, the Court conducted a revocation hearing under 18

U.S.C. § 3148(b) with respect to the petition filed against Defendant Steve

Humiston alleging he violated conditions of his pretrial release. The petition

alleges that Defendant failed to comply with both condition 7(a) which required

him to maintain or actively seek employment, or participate in an education

program, and also condition 7(r) which required him to participate in the Crisis

Intervention Program. The petition alleges he has been unemployed, and that he

has not participated in an education program.

      Defendant was originally arrested on August 6, 2013, in Tacoma,

Washington on the charges pending against him in this case. On August 8, 2013,


                                         1
       Case 9:13-cr-00030-DWM Document 274 Filed 03/13/14 Page 2 of 4



he had his initial appearance before United States Magistrate Judge Karen L.

Strombom in the United States District Court, Western District of Washington.

Judge Strombom ordered Defendant be released at that time pending his trial in

this matter.

      On August 9, 2013, the United States moved for an order revoking

Defendant’s release from custody. As a result, Judge Strombom’s order releasing

Humiston was stayed (see doc. 31 at 1), and on September 10, 2013, District Judge

Donald W. Molloy conducted a hearing on the United States’ motion to revoke

Defendant’s release. Following the hearing, by Order entered September 11,

2013, Judge Molloy released Defendant on numerous conditions, including

conditions 7(a) and 7(r) referenced in the instant petition.

      Upon Defendant’s release from custody and return to Tacoma, Washington,

Defendant was involuntarily terminated from his job with the United States Postal

Service. In addition to losing his job, pretrial services officers informed the Court

that Defendant’s loss of his employment may have aggravated his mental health

conditions, and specifically, may have put Defendant at a higher risk of

committing suicide.

      During the March 13, 2014 hearing, the Court reviewed two separate mental

health evaluations of Defendant’s mental health conditions prepared by licensed

                                          2
       Case 9:13-cr-00030-DWM Document 274 Filed 03/13/14 Page 3 of 4



professionals. (See Docs. 273-1 and 273-2, filed under seal.) In a suicide risk

assessment dated January 31, 2014, prepared by a licensed professional employed

by the Federal Bureau of Prisons, the evaluator concluded that Defendant’s overall

risk of suicide was low. (Doc. 273-2 at 1.)

      In view of the foregoing, and having considered all of the evidence and

information presented to the Court at the March 13, 2014 revocation hearing, the

Court enters the following findings and conclusions:

      Pursuant to 18 U.S.C. § 3148(b)(1)(B), the Court finds clear and convincing

evidence exists establishing that Defendant violated condition 7(a) of the

September 11, 2013 Order releasing him from custody by failing to maintain or

actively seek employment, or pursue an education program.

      But, under 18 U.S.C. § 3148(b)(2)(A) & (B) the Court does not find either:

(1) that there is no condition or combination of conditions of release that will

assure that Defendant will not flee or pose a danger to another person or the

community, nor (2) that Defendant is unlikely to abide by any condition or

combination of conditions of release.

      To the contrary, having considered all of the factors set forth in 18 U.S.C. §

3142(g), the Court finds those factors weigh in favor of Defendant’s release, and

the Court deems it appropriate to release Defendant pursuant to 18 U.S.C. §

                                          3
       Case 9:13-cr-00030-DWM Document 274 Filed 03/13/14 Page 4 of 4



3142(c). Therefore, IT IS HEREBY ORDERED that Defendant is released from

custody subject to all the conditions of release imposed against him as set forth in

the release order Judge Molloy entered September 11, 2013. (Doc. 57).

      DATED this 13th day of March, 2014.



                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




                                          4
